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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

UNITED STATES OF
AMERICA,

                    Plaintiff,

v.                                                      Case No. 13-40121-002-JTM

JAKEEM C. COOPWOOD and
LASHON N. STEWART,

                    Defendants.



                           MEMORANDUM AND ORDER

      Before the court is defendant Lashon N. Stewart’s Motion for Records (Dkt. 57).

On May 9, 2014, Stewart pled guilty to one count of brandishing a firearm during and in

relation to a crime of violence in violation of 18 U.S.C. §§ 2 and 924(c)(1)(A)(ii). (Dkt.

38). He was sentenced to 84 months’ imprisonment and is now incarcerated. (Dkts. 52,

57). Stewart now requests “any and all Records in the possession of your court and

clerks regarding the (requester) Lashon N. Stewart” under the Freedom of Information

and Privacy Acts (“Acts”) with reduced or waived fees. (Dkt. 57).

      The Acts do not apply to the court. 5 U.S.C. § 551. However, pro se pleadings

must be construed liberally. Hall v. Bellmon, 935 F.2d 1106, 1109-10 (10th Cir. 1991). The

court therefore construes defendant’s filing as a request to produce documents.

      “Absent a showing of a particularized need, the Court generally does not

provide copies of transcripts or other information to indigent prisoners.” United States v.


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Dozal-Alvarez, 2011 WL 2670089, at *4 (D. Kan., July 7, 2011). A habeas corpus petitioner

may request a free sentencing transcript pursuant to 28 U.S.C. § 753(f). “If on any

application for a writ of habeas corpus an order has been made permitting the

petitioner to prosecute the application in forma pauperis,” he is entitled to documents

or parts of the record without cost. 28 U.S.C. § 2250. Prisoners are not otherwise entitled

to free transcripts to search for errors. Ruark v. Gunter, 958 F.2d 318, 319 (10th Cir. 1992).

       Stewart seeks “any and all Records” in the court or clerk’s possession, including

docket sheets or reports from this case, his Plea Agreement, and his Final Sentencing

Transcript. He has not filed a habeas petition, and is therefore not yet entitled to free

copies of documents or the sentencing transcript. Stewart fails to assert a reason for his

need of the documents requested and is therefore not entitled to production. Until he

shows a particularized need for the documents requested, he can obtain them from the

office of the clerk by paying the requisite fees.

       IT IS ACCORDINGLY ORDERED this 9th day of December, 2014, that

defendant’s motion (Dkt. 57) is DENIED.



                                                     s/ J. Thomas Marten
                                                    J. THOMAS MARTEN, JUDGE




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